               IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF IOWA
                         WESTERN DIVISION

EMERSON TYRONE JACKSON,
             Petitioner,                      No. 10-CV-4124-DEO
v.                                     MEMORANDUM AND OPINION ORDER
UNITED STATES OF AMERICA,
             Respondent.


                           ____________________

      This   matter   is    before    this   Court    on    Emerson   Tyrone

Jackson’s    (Petitioner’s)      28   U.S.C.   §     2255   petition,     and

supplement thereto, to vacate, set-aside, or correct his

sentence of November 14, 2008, imposed by this Court.                 Docket

Nos. 1 and 14.

I.   INTRODUCTION

On June 26, 2008, Petitioner was indicted on 5 counts:                    (1)

conspiracy to manufacture and distribute 50 grams or more of

crack cocaine; (2) distribution of 4.9 grams of crack cocaine

within 1,000 feet of a school or playground; (3) distribution

of .87 grams of crack cocaine within 1,000 feet of a school or

playground; (4) distribution and aiding and abetting another

in the distribution of .53 grams of crack cocaine within 1,000

feet of a school or playground; and (5) distribution of 1 gram

of crack cocaine within 1,000 feet of a school or playground.




     Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 1 of 24
08-CR-4022-DEO, Docket No. 19-2.            The indictment also noted

Petitioner     was     a   repeat   felon   with   two   previous       drug

convictions.     Id.

    Prior to trial, the Government filed a notice of its

intent to seek enhanced penalties for Petitioner’s two prior

felony drug convictions:            (1) “delivery of a controlled

substance (cocaine) . . . in the Circuit Court of Mississippi

County, Arkansas, Osceola District Criminal Division, case

number CR-97-58"; and (2) “delivery of a controlled substance

(cocaine base) . . . in the Iowa District Court for Des Moines

County, case number FECR002021.”             Docket No. 35, 2.           The

Government noted that given these prior felony convictions,

Count 1, “pursuant to 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and

851,” was “punishable by a mandatory minimum sentence of life

imprisonment,” and Count 2 through 5, pursuant “to 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(C), 851, and 860,” were “punishable by

. . . a maximum sentence of 40 years’ imprisonment . . . .”

08-CR-4022-DEO, Docket No. 35.

    This Court conducted Petitioner’s jury trial in July of

2008.   08-CR-4022-DEO,         Docket   Nos.   48,   49,   51,   and   53.

Attorney Chad Primmer represented Petitioner.               At trial, the

Government presented evidence of four controlled purchases


                                     2


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 2 of 24
from Petitioner, as to counts 2 through 5; including the

testimony of law enforcement officers who orchestrated the

purchases, the actual crack cocaine purchased from Petitioner,

laboratory   test   results      of   the   crack   cocaine    purchased,

testimony from lab technicians as to the veracity of the lab

reports, surveillance photographs, and marked buy money from

the controlled purchases found on the Petitioner’s person.

08-CR-4022-DEO, Docket No. 93, 6.

    In addition, the Government introduced the testimony of

10 witnesses.    Abdul Turner testified he provided Petitioner

with four to six ounces (113.4 to 170.1 grams) of crack

cocaine for distribution per week for four to six months in

the Summer of 2002.        Id.        He also testified that he and

Petitioner made at least three trips to St. Louis, Missouri,

where they obtained a kilo of cocaine for the purpose of

manufacturing and distributing crack cocaine.            Id.     He   also

testified that he and Petitioner made at least one trip to

Ames, Iowa, to get drugs; and several trips to Sioux Falls,

South Dakota, to deliver several ounces of crack cocaine to

Charles Rice for redistribution.            Id.   Mark Thomas testified

about his knowledge of Petitioner’s trips with Abdul Turner to

St. Louis and Ames to get cocaine and to Sioux Falls to


                                      3


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 3 of 24
deliver crack cocaine.            Id.     Tony Smith also testified about

his knowledge of Petitioner’s trips with Abdul Turner.                         Id.

Brandon Goolsby testified about his personal knowledge of

Petitioner’s         crack   distribution.            Id.     Christie    Hejhal

testified about her role as an informant in a Government

orchestrated         controlled     buy       from   Petitioner.      She     also

testified that in 2005 or 2006, for about a year period, she

had received a total of three ounces of crack cocaine from

Petitioner.      Id.    Myree Coleman testified about his role in a

Government controlled buy from Petitioner.                      In addition, he

testified about a number of drug transactions in 2003 or 2004

in   which      he    delivered     5     ounces      of    crack   cocaine     on

Petitioner’s behalf.          Id.       Garner McCoy testified about his

knowledge of and participation in the distribution of crack

cocaine with Petitioner in 2002 or 2003 and in 2006 or 2007.

Id. at 8.       He also testified about his role in a Government

orchestrated controlled buy from Petitioner, his purchase of

2 ounces of crack cocaine from Petitioner for redistribution

in 2002 or 2003, his purchase of 4 ounces of crack cocaine

from Petitioner for redistribution in 2006, and his knowledge

as   to   the   role    of   others       in    Petitioner’s     crack   cocaine

distribution         ring.    Id.         Laurie     Scofield    testified     she


                                          4


     Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 4 of 24
obtained at least 5 ounces of crack cocaine from Petitioner in

2005 or 2006 for redistribution. Id. Gailene Jones testified

she purchased crack cocaine from Petitioner on three to five

occasions;    she    also   testified    as    to   her   knowledge     of

Petitioner’s sale of crack cocaine to others.             Id.    Finally,

Antonio    Jones    testified   that    he    and   Theresa     McManigal

purchased 1/4 ounce of crack cocaine from Petitioner in the

Fall of 2006 for use and redistribution.            Id.

    On July 18, 2008, the jury returned a verdict finding

Petitioner guilty on all 5 counts. 08-CR-4022-DEO, Docket No.

56-2.     On July 23, 2008, Petitioner filed a motion for a

judgment of acquittal, or, in the alternative, a new trial.

08-CR-4022-DEO, Docket No. 57.          On November 10, 2008, this

Court denied Petitioner’s motions, noting that the evidence in

relation to the controlled buys were sufficient to sustain the

conviction on the 4 counts of distribution and the one count

of aiding and abetting distribution; the ten witnesses who

testified as to Petitioner’s involvement in a drug conspiracy

were sufficient to uphold his conspiracy conviction; and the

weight of the evidence did not support the need for a new

trial.    08-CR-4022-DEO, Docket No. 82, 5-6.




                                   5


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 5 of 24
    On   November   10,   2008,    this   Court   held   a   sentencing

hearing in which Petitioner was sentenced to a mandatory

minimum of life imprisonment on count 1, and 360 months on

Counts 2 through 5 to be served concurrently. 08-CR-4022-DEO,

Docket No. 86.    08-CR-4022-DEO, Docket No. 83, 1.

    Two days after sentencing, the Government filed a notice,

arguing Counts 2 through 5 were in fact subject to a statutory

mandatory minimum sentence of life in prison.                  Id.      On

November 13, 2008, this Court held another sentencing hearing

and refused to apply the purported statutory mandatory minimum

on Counts 2 through 5.1         08-CR-4022-DEO, Docket No. 102.


    1
      In pertinent part, 21 U.S.C. § 841(b)(1)(viii) provides:
“[i]f any person commits a violation of this subparagraph
[manufacturing, distributing, dispensing, or possessing with
intent to manufacture, distribute or dispense 50 grams or more
of cocaine base] or of section . . . 860 . . . of this title
[distributing, possessing with intent to distribute, or
manufacturing any amount of a controlled substance within one
thousand feet of a public school or playground] after two or
more prior convictions for a felony drug offense have become
final, such person shall be sentenced to a mandatory term of
life imprisonment . . . .” (emphasis added). While this may
be interpreted to require that a defendant be sentenced to
life in prison if they have two prior felony drug convictions
and are further convicted of distributing or possessing with
intent to distribute any amount, no matter how minuscule, of
a controlled substance within 1,000 feet of a school or
playground, this Court does not think this could possibly be
what Congress intended; such an interpretation would be
fundamentally unfair and contrary to the logic of the
remainder of the controlled substances penalty provisions.
First, it equates the distribution of any controlled substance

                                   6


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 6 of 24
After noting that two of the counts involved the distribution

of less than a gram of crack cocaine, this Court stated it

was:

           not going to give anybody life for that.
           The circuit may end up doing it, but I’m
           not going to do it, so the ruling of the
           Court is that the sentence will not be
           changed,  and   the  sentence  that  was
           pronounced last Monday . . . will stand,
           and we’ll put out a judgment just like
           that. Your exceptions are noted.

Id. at 98.

       Subsequently, Attorney Primmer filed an appeal with the

Eighth Circuit, arguing this Court erred in not granting a

judgment of acquittal or new trial.          08-CR-4022-DEO, Docket

No. 110.     On August 13, 2009, the Eighth Circuit upheld the

ruling of this Court.      On September 9, 2009, the Eighth




within 1,000 feet of school or playground, something not
unlikely or, relatively speaking, blameworthy, especially in
rural America, with much more serious sentencing enhancements
found elsewhere in the criminal code.       Second, if taken
literally, it ignores the importance of quantity when
determining the ultimate harm to society. Third, it is placed
in a long and convoluted portion of the penalty provisions,
which, in all other aspects, applies only to people convicted
of a violation involving 50 grams or more of crack cocaine.
Finally, it illogically equates chronic drug addicts, who
often distribute small amounts of drugs solely for the purpose
of supporting their drug habit, with far more culpable
defendants who sell large quantities of drugs for profit.


                                   7


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 7 of 24
Circuit denied Petitioner’s request to hear his appeal en

banc.       Case No. 08-3714, Entry ID: 3584606.

       On December 6, 2010, Petitioner timely2 filed his 28

U.S.C. § 2255 petition with this Court.                 Docket No. 1.       On

January       31,    2011,   Attorney       Roehrich    was   appointed     as

Petitioner’s habeas counsel.                Docket No. 11.      On March 3,

2011, and on April 18, 2011, Attorney Roehrich, Petitioner’s

appointed counsel, filed supplements to Petitioner’s § 2255

petition.       Docket Nos. 14 and 18.

       Petitioner      requests   relief      on   4   grounds:      (1)   new

sentencing provisions promulgated under the Fair Sentencing

Act    of    2010;    (2)    faulty   indictment;      (3)    new   guideline

provisions; and (4) ineffective assistance of counsel. Docket

Nos. 1, 14, and 18.


       2
       § 2255 imposes a 1-year period of limitations on claims
arising therefrom. 28 U.S.C. § 2255(f)(1). The 1-year period
of limitations generally begins to run on the date judgment of
conviction becomes final. Clay v. U.S., 537 U.S. 522, 527
(2003); 28 U.S.C. § 2255(f)(1). The judgment of conviction
became final, in Petitioner’s case, when his time for filing
a writ of certiorari with the Supreme Court expired. Id.
     “The time to file a petition for a writ of certiorari
runs from the date of entry of the judgment or order sought to
be reviewed, and not from the issuance date of the mandate .
. . But if a petition for re-hearing is timely filed in the
lower court . . . the time to file the petition for writ of
certiorari . . . runs from the date of the denial of rehearing
. . . .” U.S. Sup. Ct. R. 13.3.     Thus, Petitioner had until
December 9, 2010, to file his 28 U.S.C. § 2255 petition.

                                        8


      Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 8 of 24
II.    LAW AND ANALYSIS

       28 U.S.C. § 2255(a) provides:

            A prisoner in custody under sentence of a
            court established by Act of Congress
            claiming the right to be released upon the
            ground that [1] the sentence was imposed in
            violation of the Constitution or laws of
            the United States, or [2] that the court
            was without jurisdiction to impose such
            sentence, or [3] that the sentence was in
            excess of the maximum authorized by law, or
            [4] is otherwise subject to collateral
            attack, may move the court which imposed
            the sentence to vacate, set aside or
            correct the sentence.

       A.   The Fair Sentencing Act of 2010

       As part of the Fair Sentencing Act of 2010, Congress

amended 21 U.S.C. § 841 to require that a defendant, with two

prior felony convictions, conspire to manufacture, distribute,

dispense,     or   to   possess    with   an   intent   to   manufacture,

distribute, or dispense 280 grams of crack cocaine, rather

than the mere 50 grams required when Petitioner was sentenced,

in order to be subject to a mandatory minimum of life.3                    At


       3
       This change was made in response to the cacophony of
criticism surrounding sentencing disparities between people
convicted of distribution of crack cocaine and people
convicted of distribution of powdered cocaine. Prior to the
Fair Sentencing Act of 2010, a person convicted of
distribution of powdered cocaine could distribute 99 times
more product than a person convicted of distribution of crack
cocaine and still receive a lesser sentence. Post the Fair
Sentencing Act, a person convicted of powdered cocaine

                                      9


      Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 9 of 24
first glance, this may be read to imply Petitioner’s sentence

was contrary to law and he is subject to relief pursuant to §

2255.       However,    the   Eighth         Circuit   has   ruled   that   the

statutory changes in the Fair Sentencing Act of 2010 are not

retroactive.        U.S. v. Sidney, 648 F.3d 904, 908 (8th Cir.

2011). Notably, the decision the Eighth Circuit reached as to

the     retroactive     effect,    or        lack   thereof,   of    the    Fair

Sentencing Act is not the decision this Court would have

reached.4      In this Court’s judgment, it is disturbing that a

system of just laws fails to provide relief to a person who

was sentenced to a mandatory minimum of life, though, if

convicted two years later, a mandatory minimum of ten years


distribution can still distribute 17 times more product than
a person convicted of crack cocaine distribution and still be
subject to a lesser sentence.        Thus, though the Fair
Sentencing Act limited the sentencing disparities between
people convicted of distribution of crack cocaine and those
convicted of distribution of powdered cocaine, a substantial
disparity persists.
       4
       This Court is not alone in its opinion. In “June of
this year . . . the [United States Sentencing] Commission
voted to give retroactive effect to the . . . Fair Sentencing
Act of 2010,” but only in reference to the United States
Sentencing Guidelines, which are distinct from the United
States Criminal Code. U.S. v. River, 2011 WL 5022734, fn 10
(2nd Cir. 2011). Whereas the United States Criminal Code is
enacted by Congress, the Untied States Sentencing Guidelines
are created by the United States Sentencing Commission, which
derives its authority from Congress and so necessarily lacks
the authority to alter Congressional enactments.

                                        10


      Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 10 of 24
would apply.5   Regardless, the Eighth Circuit has spoken; and

their precedents are binding on this Court.

    In addition, even if the Eighth Circuit would have ruled

that the Fair Sentencing Act could be retroactively applied to

Petitioner, § 2255, as previously noted, only allows for the

correction of a sentence if that sentence was in violation of

federal law.6    The current 21 U.S.C. § 841(b)(1)(B) provides

that someone convicted of conspiracy to distribute 28 grams of

crack cocaine with at least one prior felony conviction is

subject to a mandatory minimum of 10 years and a maximum

sentence of life.       Thus, Petitioner’s sentence of life in

prison was not in violation of even current law, let alone the

law applicable at the time of his sentencing.           So, Petitioner

is not entitled to relief pursuant to § 2255.




    5
      It is even more disturbing for those sentenced on August
2, 2010, a day prior to the Act being signed into law.
    6
       28 U.S.C. § 2255 also provides relief for sentences
imposed by Courts without jurisdiction, sentences in excess of
applicable   law,   and   sentences  in   violation   of   the
Constitution. However, the Constitution is a law, albeit a
supreme law, jurisdiction is determined by applicable law, and
applicable sentencing ranges is a matter of applicable laws;
thus, stated succinctly, 28 U.S.C. § 2255 provides relief to
prisoners whose sentence was imposed in violation of federal
law, and references to specific species of federal law is
redundant.

                                   11


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 11 of 24
    B.     Indictment

    Petitioner contends that he should have been indicted for

conspiracy to distribute 28 rather than 50 grams of crack

cocaine.     While ultimately unclear, it appears Petitioner

feels the evidence against him was insufficient to sustain an

indictment for conspiracy to distribute 50 grams.

    In Costello v. United States, Justice Black announced the

general rule:

           An indictment returned by a legally
           constituted and unbiased grand jury, like
           an information drawn by the prosecutor, if
           valid on its face, is enough to call for
           trial of the charge on the merits . . . .

350 U.S. 359, 363 (1956).

    Unlike    a   conviction     which   requires     proof   beyond     a

reasonable doubt, a grand jury indictment merely requires

probable cause.     Bracy v. U.S., 435 U.S. 1301, 1302 (1978).

Since after the grand jury indictment, a trial jury found

Petitioner guilty beyond a reasonable doubt.           Both this Court

and the Eighth Circuit upheld the trial jury’s verdict, and

Petitioner provides no new evidence suggesting his indictment

should be dismissed.      This Court must respect the essential

and independent role played by grand jury indictments in our




                                   12


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 12 of 24
federal system. Petitioner’s request for relief on this basis

is denied.

       C.   New Guideline Provisions

       At the time of Petitioner’s sentencing, § 4A1.1 of the

United States Sentencing Guidelines Manual provided that a

defendant receive two additional criminal history points if

they    were   released   from   prison   due   to   certain   types     of

criminal convictions less than two years prior to their

current     conviction.     U.S.S.G.,     Appendix    C   -Volume    III,

Amendment 741.      This guideline provision was applicable to

Petitioner, though it did not affect the outcome of his

sentence.

       On November 1, 2010, this “recency” provision was removed

from the guidelines.        Id.     However, as previously noted,

Petitioner was sentenced on Count 1 pursuant to a then valid

statutory, mandatory, minimum sentence of life in prison; and,

as such, his sentence was neither imposed in violation of the

Constitution or laws of the United States, nor in excess of

the maximum authorized by law.          Thus, even if the changes to

§ 4 A1.1 of the United States Sentencing Guidelines were

retroactive, it makes no difference in Petitioner’s case and




                                   13


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 13 of 24
does not provide grounds to vacate, set-aside, or correct his

sentence.

    D.   Ineffective Assistance of Counsel

    “[T]he     right   to   counsel       is   the   right    to   effective

assistance of counsel.”       McMann v. Richardson, 397 U.S. 759,

771 (1970).      The Fourteenth Amendment Due Process Clause

guarantees    the   right   to   a    fair     trial.        Strickland   v.

Washington, 466 U.S. 668, 684-85 (1984).             The Sixth Amendment

guarantees the right to assistance of counsel.                 U.S. Const.

Amend. VI. In Strickland, the Supreme Court elaborated on the

relationship between the Fourteenth and Sixth Amendments:

            The benchmark for judging any claim of
            ineffectiveness must be whether counsel’s
            conduct   so    undermined    the    proper
            functioning of the adversarial process that
            the trial cannot be relied on as having
            produced a just result.

466 U.S. at 686.

    The moving party must demonstrate two components to

establish ineffective assistance of counsel:                 (1) counsel’s

conduct was deficient, and (2) prejudice.               466 U.S. at 687.

Counsel’s conduct is deficient when it is unreasonable “under

prevailing professional norms.”            Padilla v. Kentucky, 130 S.

Ct. 1473, 1481 (2010) (quoting Strickland, 466 U.S. at 688).

Counsel’s conduct is prejudicial if “counsel’s errors” are so

                                     14


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 14 of 24
serious that they “deprive the defendant of a fair trial . .

. .”    466 U.S. at 687.           In other words, a petitioner must show

“there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have

been different.”            466 U.S. at 694.          A reasonable probability

does    not    require        a    different       outcome       be     proven        by     a

“preponderance          of     the       evidence”       but     does     require           “a

probability         sufficient          to    undermine        confidence       in         the

outcome.”      Id.

       Petitioner claims Attorney Primmer, his trial counsel,

was ineffective in three respects: (1) he failed to object to

a juror who knew one of the witnesses; (2) he failed to argue

that    Petitioner          was    in     prison     during      portions        of        the

conspiracy; and (3) he failed to inform Petitioner he was

facing potential mandatory minimum sentences of life on counts

2 through 5.

              1.    Failure to Object to a Juror Who Knew a Witness

       Nowhere on the record does it indicate that one of the

jurors knew a witness; and Petitioner fails to inform this

Court    the       source     of    his      knowledge,        the    extent     of        the

relationship        between        the    juror    and    the        witness,    or    the

ultimate       effect        the     alleged       relationship         had     on         his


                                             15


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 15 of 24
conviction.     Therefore, this Court has no basis to conclude

Attorney Primmer’s representation in relation thereto was

somehow    deficient    or   to   conclude     that    Petitioner        was

ultimately prejudiced thereby.

           2.   Failure to Argue Petitioner was in Prison During

Portions of the Conspiracy

       Petitioner was incarcerated from January 31, 2000, to

November 1, 2003, and from April 12, 2005, to October, 13,

2005, and these periods of incarceration do conflict with some

of the time frames witnesses testified to at trial.               Docket

No. 93, 22.     For instance, Abdul Turner testified he provided

Petitioner with four to six ounces of cocaine per week for

four to six months for redistribution as crack in the Summer

of 2002; Garner McCoy testified that he participated in the

distribution of crack with Petitioner in 2002 or 2003; and

Laurie Scofield testified she purchased at least 5 ounces of

crack cocaine from Petitioner in 2005 or 2006. Docket No. 93,

7-9.

       Though Attorney Primmer otherwise represented Petitioner

vigorously, he may not have done as much as he could to draw

attention to the Government’s time line.              Defense counsel

have a duty to inform their clients as to the potential


                                   16


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 16 of 24
implications       of   pleading    guilty   or   going   to     trial,     and

criminal history plays an often critical role in understanding

those implications. In most instances, defense counsel should

be aware of a client’s previous periods of incarceration,

especially if the periods of incarceration were recent; and

so,     defense    counsel’s     failure     to   point    out    that      the

Government’s theory of conspiracy conflicts with periods in

which their client was actually incarcerated, may constitute

deficient representation. However, Petitioner has provided no

evidence or testimony explaining if or why Attorney Primmer

should have known of his previous periods of incarceration.

Petitioner also has not bothered to show this Court which

aspects of the testimony against him conflicted with his

periods of incarceration. As such, Petitioner has not met his

burden      of   showing   Attorney    Primmer’s     representation         was

deficient.

       Furthermore, ten witnesses testified against Petitioner,

attributing 2,362.95 grams of crack cocaine to Petitioner’s

dealings; and the controlled buy evidence that Petitioner sold

7.3 grams of crack cocaine was nearly incontrovertible.7

Thus, even if Attorney Primmer had noted that Abdul Turner’s


       7
           It was documented on video and audio recordings.

                                      17


      Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 17 of 24
testimony accused Petitioner of engaging in illegal activities

when       incarcerated,    and   Garner     McCoy   and    Laurie    Scofield

discussed vague time periods, parts of which overlapped with

times       Petitioner     was    incarcerated,      it    cannot     be   said

Petitioner was prejudiced.           Simply stated, the evidence, even

considering        Petitioner’s        periods        of        incarceration,

overwhelmingly supported the jury’s finding that Petitioner

was guilty of conspiring to distribute 50 grams or more of

crack cocaine.

              3.   Failure to Properly Inform Petitioner About

Mandatory Minimum Sentences of Life for Counts 2 Through 5

       As    previously     noted,    this    Court       did   not   sentence

Petitioner to a mandatory minimum of life for Counts 2 through

5.   While 21 U.S.C. § 841(b)(1)(viii) can be read to require

a mandatory minimum of life on Counts 2 through 5, considering

Petitioner’s two previous convictions, this Court is persuaded

such an interpretation is fundamentally unfair and contrary to

the logic of the remainder of the United States Criminal

Code’s controlled substances offense penalties.8

       At Petitioner’s habeas hearing of December 15, 2011,

Attorney Primmer testified that he failed to advise his client


       8
           See footnote #1.

                                      18


     Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 18 of 24
that he could be subject to potential life sentences on counts

2 through 5.      As the Court of Appeals for the Fifth Circuit

stated in Teague v. Scott:

           Failing to properly advise the defendant of
           the maximum sentence that he could receive
           falls below the objective standard required
           by Strickland. When the defendant lacks a
           full understanding of the risks of going to
           trial, he is unable to make an intelligent
           choice of whether to accept a plea or take
           his chances in court.

60 F.3d 1167, 1171 (5th Cir. 1995).

    Thus,    in    this   Court’s        opinion,   Attorney   Primmer’s

representation was deficient.        Still, this Court thinks it is

important to note that Attorney Primmer’s failure in this

instance    was   understandable,         especially   considering       the

bizarre placement of the potential penalty provision for

counts 2 through 5 in 21 U.S.C. § 841(b)(1)(viii) (a section

which otherwise deals with 50 grams or more of crack cocaine)

and the fact that the Government, U.S. Probation, and this

Court were also unaware of the potential punishment. However,

what is understandable and what is constitutionally required

are not the same thing.

    As previously noted, once a petitioner establishes that

his counsel’s representation was deficient, he must still show

that prejudice resulted.      Petitioner maintains that if he had

                                    19


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 19 of 24
known he was potentially facing 5 life sentences, he would

have   pursued     a    plea   deal.         Docket   No.     14,    3.      Though

Petitioner’s      argument     is    logically        plausible       in    that    a

reasonable person in Petitioner’s position would have sought

a   plea   deal,       especially      considering      Attorney          Primmer’s

strategy at trial was to concede counts 2 through 5 and

contest count 1, the testimony presented at the hearing of

December 15, 2011, does not support the conclusion that this

particular Petitioner would have sought a plea deal.                         First,

Petitioner’s claim that he would have sought a plea deal is

undermined by the fact that it was clear from Petitioner’s

testimony that his recollections of his criminal proceedings

were, at best, limited.              Second, upon cross-examination,

Petitioner    maintained       that,     despite      all   of      the    evidence

against    him,    including        audio      and    video      recordings        of

controlled buys, he was absolutely innocent of all counts and

went to trial to contest all counts; such strong convictions

are rarely amenable to plea deals.                     In a similar vein,

Attorney Primmer testified that Petitioner was dead set on

going to trial and would not have accepted a deal, regardless

of what was offered him.         The fact is that, though Petitioner

was facing, at best, life in prison on count 1 if convicted


                                        20


    Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 20 of 24
and, at best, 10 years on counts 2 through 5 if convicted, he

refused   the   Government’s         offer    to     pursue     a   cooperation

agreement.9      So,    it     is    difficult        to   conclude,      given

Petitioner’s frame of mind prior to trial, that there is a

reasonable probability that Petitioner would have attempted to

pursue a cooperation agreement if he had known he was facing

5 counts of life.

    Finally, criminal defendants, even if facing 5 counts of

life and seemingly insurmountable evidence of guilt, are not

entitled to cooperation agreements.                  On the contrary, such

circumstances, practically speaking, make the likelihood of a

cooperation     agreement     even     more        unlikely.        Though   the

Government indicated it was willing to discuss a cooperation

agreement with Petitioner, no deal was actually offered.

Petitioner    fails    to    claim    he     had    information      which   was

sufficiently valuable to justify a cooperation agreement.

Therefore, it cannot be said that if Petitioner had known he

was facing 5 potential life sentences, and if he decided to

pursue    a   cooperation     agreement,           there   is   a    reasonable



    9
      The Government even went so far as to set up a meeting
with Abdul Turner, who ultimately testified as a witness
against Petitioner.   Mr. Turner pleaded with Petitioner to
cooperate, but Petitioner was obstinate.

                                      21


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 21 of 24
probability that the results of the proceedings would have

been different.     As such, Petitioner was not prejudiced.10

III. CERTIFICATE OF APPEALABILITY

    Under 28 U.S.C. § 2255(c)(2), a district court may issue

a certificate of appealability which will allow a            petitioner

to appeal the denial of his § 2255 petition.              The district

court should only issue a certificate of appealability if

“‘the applicant has made a substantial showing of the denial

of a constitutional right.’” Slack v. McDaniel, 529 U.S. 473,

483 (2000) (citing 28 U.S.C. § 2253(c)).                In Slack, the

Supreme Court defined “substantial showing” as follows:

          To    obtain    a   [certificate    of    a
          appealability] under § 2253(c), a habeas
          prisoner must make a substantial showing of
          the denial of a constitutional right, a
          demonstration that . . . includes showing
          that reasonable jurists could debate
          whether (or, for that matter, agree that)
          the petition should have been resolved in
          a different manner or that the issues
          presented were “‘adequate to deserve the
          encouragement to proceed further.’”




    10
        The Government maintained that there can be no
prejudice related to plea negotiations if a Defendant goes to
trial. While this Court agrees that prejudice will not exist
in most circumstances where a defendant chooses to invoke his
right to trial, this Court thinks that if Petitioner had been
more open to a plea negotiations prior to trial and if a solid
plea agreement had been offered, there would be prejudice.

                                   22


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 22 of 24
             Barefoot, 463 U.S., at 893, and n.4, 103 S.
             Ct. 3383, 77 L. Ed. 2d 1090 (sum[ming] up
             the “substantial showing” standard).

Slack, 529 U.S. at 483-84.

       After thoroughly considering the record in this matter,

this Court is persuaded that “reasonable jurists could debate

whether . . . the petition should have been resolved in a

different manner.”        Slack, 529 U.S. at 483-84.           This Court’s

decisions in this case were judgment calls, and this Court is

of    the   opinion    that      all   its    judgment   calls   should     be

reviewable.       As precedent in Tiedeman v. Benson requires, a

certificate of appealability is granted in relation to each of

Petitioner’s claims.          122 F.3d 518, 520 (8th Cir. 1997)

IV.     CONCLUSION

       While this Court does not agree with how the sentencing

guidelines applied to Petitioner, this Court’s primary duty is

to uphold and enforce the Constitution and laws of the United

States.        Although     it    may    be    argued    the   severity     of

Petitioner’s sentence resulted in an injustice, a greater

injustice would occur if this Court failed to perform its

primary duty.

       Therefore, because Petitioner has failed to meet his

burden to show that his sentence was in some manner contrary


                                        23


      Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 23 of 24
to the laws or the Constitution of the United States, his

motion for relief pursuant to § 2255 is hereby denied.

    IT IS SO ORDERED this 10th day of April, 2012.



                                 __________________________________
                                 Donald E. O’Brien, Senior Judge
                                 United States District Court
                                 Northern District of Iowa




                                   24


   Case 5:10-cv-04124-DEO-LTS Document 28 Filed 04/10/12 Page 24 of 24
